          Case 2:19-cv-07436 Document 1 Filed 08/27/19 Page 1 of 4 Page ID #:1



 1   MARRON LAWYERS, APC
     Paul B. Arenas (SBN 167863)
 2   parenas@marronlaw.com
     3711 Long Beach Blvd., Suite 601
 3   Long Beach, CA 90807
     (562) 432-7422 Telephone
 4   (562) 683-2721 Facsimile
 5
     Attorneys for Plaintiff,
 6   De Well Container Shipping, Inc.
 7
 8                         UNITED STATES DISTRICT COURT
 9
          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10
11   DE WELL CONTAINER SHIPPING,                 CASE NO.: 2:19-cv-7436
     INC.,
12
                           Plaintiff,            COMPLAINT
13
14   v.

15   OC-LINES (CHINA) LOGISTICS
     LTD.,
16
17                         Defendant.

18            De Well Container Shipping, Inc. (“De Well” or “Plaintiff”), by and through
19   its undersigned attorneys alleges in its Complaint against OC-Lines (China)
20   Logistics Ltd. (“OC Lines”) as follows:
21                                         PARTIES
22        1.       De Well is a California corporation with its principal place of business
23   at 5553 Bandini Blvd, Bell, CA 90201.
24        2.       De Well is a licensed non-vessel-operating common carrier
25   (“NVOCC”) that provides transportation and logistics services for entities shipping
26   cargo.
27        3.       OC Lines is a foreign registered NVOCC. OC Lines is a Chinese
28   Company with its principal place of business at Room 2502-2504, No. 1688 North

                                             1                    Case No. 2:19-cv-7436
                                         COMPLAINT
          Case 2:19-cv-07436 Document 1 Filed 08/27/19 Page 2 of 4 Page ID #:2




 1   Sichuan Road, Hongkou District, Shanghai, China.
 2                             JURISDICTION AND VENUE
 3        4.      This is an admiralty and maritime claim within the meaning of Rule
 4   9(h) of the Federal Rules of Civil Procedure.
 5        5.      This Court has subject matter jurisdiction over the case under Title 28
 6   U.S.C. § 1333.
 7        6.      This Court also has jurisdiction pursuant to Title 28 U.S.C. § 1332 as
 8   there is complete diversity between the parties. The matter in controversy exceeds
 9   $75,000.
10        7.      Personal jurisdiction and venue are proper in this court because the bills
11   of lading under which the cargo at issue moved have contractual provisions that all
12   disputes related to the bills of lading may only be instituted in the United States
13   District Court for the Central District of California, which shall have exclusive
14   jurisdiction and venue over such disputes.
15        8.      The bills of lading terms and condition further provides that De Well
16   and the Defendant are personally subject to the jurisdiction of this Court.
17                                           FACTS
18        9.      De Well provided ocean transportation and logistics services for OC
19   Lines on numerous shipments from 2017 and of 2018.
20                             DE WELL BILLS OF LADING
21       10.      The goods at issue moved under De Well bills of lading.
22       11.      OC Lines was identified as the Shipper on the De Well bills of lading
23   under which the cargo moved.
24       12.      The Terms and Conditions of De Well’s bills of lading provide, inter
25   alia, that the Shipper, and its principals, are liable for the payment of all freight and
26   charges associated with the shipments. See Combined Transport Bill of Lading
27   Terms and Conditions at ¶ 16.4, attached as Exhibit A.
28       13.      The Terms and Conditions of De Well’s bills of lading provide that
                                              2                     Case No. 2:19-cv-7436
                                          COMPLAINT
           Case 2:19-cv-07436 Document 1 Filed 08/27/19 Page 3 of 4 Page ID #:3




 1   interest accrues at the rate of 1 ½% per month from the date when freight and related
 2   charges are due. Id. at ¶ 16.2.
 3         14.    The Shipper is also responsible for all demurrage, detention or similar
 4   charges. Id. at ¶ 16.3.
 5         15.    The Shipper and its principals are liable to De Well for the expenses of
 6   collection and litigation, including reasonable attorneys’ fees in seeking to collect
 7   amounts due. Id. at ¶ 16.4.
 8         16.    De Well fully performed its obligations under the contracts at issue.
 9         17.    De Well submitted invoices for its services in the ordinary course of
10   business to OC Lines.
11         18.    OC Lines has failed to pay such invoices. The amount of the unpaid
12   transportation and logistics services is in the amount of $228,177.190 in principal.
13   The interest currently owed is $71,933.89 as of August 22, 2019, which amount
14   continues to accrue.
15                    BREACH OF BILL OF LADING CONTRACT
16         19.    De Well incorporates paragraphs 1 through 18 above as if fully set forth
17   herein.
18         20.      OC Lines is contractually obligated to pay for transportation and
19   logistics services provided by De Well.
20         21.    De Well has fully performed pursuant to the bill of lading contracts at
21   issue.
22         22.    OC Lines owes De Well $$228,177.190 in principal and $71,933.89 in
23   interest, which amounts continues to accrue.
24         23.     Despite demand having been made, OC Lines has failed to pay the
25   amounts due and owing to De Well.
26   ///
27   ///
28   ///
                                            3                    Case No. 2:19-cv-7436
                                        COMPLAINT
         Case 2:19-cv-07436 Document 1 Filed 08/27/19 Page 4 of 4 Page ID #:4




 1         WHEREFORE, De Well seeks:
 2         A.    $228,177.190 in principal and $71,933.89 in interest, which interest
 3   continues to accrue at the rate of 1½% per month, from OC Lines.
 4         B.    Reasonable attorneys’ fees and costs of collection incurred by De Well
 5   from OC Lines pursuant to the bill of lading contracts; and
 6         C.    Such other relief as this Court deems just and proper.
 7                                        Respectfully submitted,
 8   Dated: August 27, 2019               MARRON LAWYERS, APC
 9
10                                         By: /s/Paul B. Arenas
                                               Paul B. Arenas
11                                             Attorneys for Plaintiff De Well Container
12                                             Shipping, Inc.

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           4                       Case No. 2:19-cv-7436
                                       COMPLAINT
